
PER CURIAM: *
Carlton Turner appeals an order of the district court, entered June 19, 2008, denying his motion for appointment of counsel and his motion for stay of execution. In his merits brief, Turner raises only the following issue: “Does the federal appointment statute, 18 U.S.C. § 3599, provide prisoners sentenced under state law the right to federally appointed and funded counsel to pursue clemency under state law?”
In his brief, Turner “acknowledges that the law of this Circuit has foreclosed the issue.” He is correct that in Clark v. Johnson, 278 F.3d 459, 462-63 (5th Cir. 2002), this court held that the statute does not apply to state clemency proceedings.
The order of the district court is accordingly AFFIRMED. Turner’s separate motion for stay of execution filed in this court is DENIED. See Hood v. Quarterman, 281 Fed.Appx. 394 (5th Cir.2008) (per curiam), cert. denied, — U.S. --, 128 S.Ct. 2953, — L.Ed.2d - (2008), stay denied sub. nom. In re Hood, — U.S. -, 128 S.Ct. 2953, - L.Ed.2d -(2008), stay denied sub. nom. Hood v. Texas, — U.S. -, 128 S.Ct. 2953, — L.Ed.2d-(2008).

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under the limited circumstances set forth in 5th Cir. R. 47.5.4.

